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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                      )
 5171 CAMPBELLS LAND CO., INC.                        ) Chapter 11
                                                      ) Case No. 19-22715-CMB
          Debtor.                                     ) Related to Doc. No. 72, 106
                                                      )

    SECOND AMENDMENT TO REVISED STIPULATION AND CONSENT ORDER


           AND NOW come 5171 Campbells Land Co., Inc. (“Debtor”) and Perkins & Marie

 Callender’s, LLC (“PMC” and together with Debtor, the “Parties”), by and through their counsel,

 and file this Second Amendment to Revised Stipulation and Consent Order (the “Second

 Amendment”) as follows:

                                            BACKGROUND

           1.       On July 19, 2019, the Parties filed, and this Court approved, that certain Revised

 Stipulation and Consent Order (as amended by the First Amendments described in Paragraph 3

 below, the “Stipulation,” Doc. No. 72).

           2.       The Stipulation provided, among other things, that any objections to the

 Stipulation were required to be filed by July 29, 2019. No objections were filed.

           3.       On August 1, 2019, the Parties filed, and this Court approved, Amendments to

 Revised Stipulation and Consent Order (the “First Amendments,” Doc. No. 106).

           4.       Debtor has filed Emergency Motions to Sell the contents of certain of the

 restaurants which are the subject of the Stipulation (the “Sale Motions,” Doc. Nos. 149, 151, 153

 and 158).




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           5.    In order to allow for closing upon approval of the Sale Motions and to ensure

 compliance with the Stipulation by Debtor, the Parties have agreed to the Second Amendments

 as set forth herein.

                                    SECOND AMENDMENTS

           6.    Paragraph 49 of the Stipulation is deleted and replaced with the following new

 Paragraph 49:

                        49. (a) With regard to Store Numbers 2474, 2537, 3346, 3458,

                 3459, 3463, 3466, 3495, 3531, 3604, 3670, 3709 and 3794 listed on page 4

                 herein, PMC agrees to extend Debtor’s temporary license to the earlier of

                 (i) closing on the sale of those stores or (ii) September 6, 2019.


                        (b) With regard to Store Numbers 2537, 3383 and 3463 listed on

                        page 4 herein (the “Non-Perkins Sold Restaurants”), Debtor shall

                        certify in writing to PMC, prior to the closing(s) on the sales of the

                        Non-Perkins Sold Restaurants but in no event later than

                        September 6, 2019, that it has fully complied with the TRO

                        including but not limited to the following:


                                (i) removing from the premises of the Non-Perkins Sold

                                Restaurants (the “Premises”) the oversized American flag.


                                (ii) removing from the Premises and destroying any and all

                                signs, menus, advertising, materials, stationery, forms or

                                other articles that display or contain any PMC trademark or

                                that otherwise identify or relate to a Perkins restaurant.


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                               (iii) removing from the Premises and returning to PMC all

                               Operating Manuals.


                               (iv) taking such action to alter the physical interior and

                               exterior décor of the Non-Perkins Sold Restaurants

                               (specifically including, but not limited to, removing

                               distinctive architectural features of or on the building) as

                               will effectively de-identify and distinguish the Non-Perkins

                               Sold Restaurants from the PMC Perkins’ brand.


                        (c) With regard to Store Numbers 3382, 3388, 3448, 3460, 3464,

                        3474, 3523, 3525, 3572, 3573, 3730, 3731 and 3844 listed on page

                        4 herein (the “Remaining Restaurants”), Debtor shall cease

                        operating as Perkins restaurants on or before September 6, 2019,

                        and shall certify in writing on or before September 10, 2019, that it

                        has covered all signage identifying the Remaining Restaurants as

                        Perkins restaurants.


           7.    Paragraph 51 of the Stipulation is deleted and replaced with the following new

 Paragraph 51.

                        51. Pursuant to a temporary license, Debtor shall be entitled to

                 operate the restaurants listed in Paragraph 49(a) until the earlier of (a)

                 closing(s) on the sales contemplated by the Sale Motions and (b)

                 September 6, 2019 (the “Termination Date”).




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           8.    Except as specifically amended herein, all other terms of the Stipulation shall

 remain in full force and effect.

           9.    These amendments shall become effective upon approval of these amendments

 and of Sale Motions filed at Doc. Nos. 151, 153 and 158.



                                               SO ORDERED this _____ day of _________, 2019.

                                               BY THE COURT



                                               Carlota Böhm
                                               Chief Bankruptcy Judge



 Consented to this 29th day of August, 2019.


 s/ Robert O. Lampl                                s/ Joel M. Walker
   Robert O. Lampl                                    Joel M. Walker
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                                  CERTIFICATE OF SERVICE

           I certify under penalty of perjury that I served the within Second Amendment to Revised

 Stipulation and Consent Order on all counsel of record via the Court’s CM/ECF system, as listed

 below, on August 29, 2019.


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                                             By: /s/ Joel M. Walker




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